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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE:                                      Misc. Case No. 15-00204-TPA

 ALL MATTERS RELATED TO NORTH
 AMERICAN REFRACTORIES
 COMPANY, et al. in Case No. 02-20198, as    Chapter 11
 affected by the May 24, 2013 Order
 Entering Final Decree entered at Doc. No.
 7940
        Debtors
                                             Adv. No. 21-2097

 HONEYWELL INTERNATIONAL INC.,
                 Plaintiff,
     v.                                      Related to Doc. No. 388

 NORTH AMERICAN REFRACTORIES
 COMPANY ASBESTOS PERSONAL
 INJURY SETTLEMENT TRUST,
                 Defendant.



     PLAINTIFF HONEYWELL INTERNATIONAL INC.’S POST-TRIAL BRIEF
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                                         INTRODUCTION

        Honeywell sought the Court’s intervention to address a series of decisions by the NARCO

 Trust that significantly increase Honeywell’s exposure as the evergreen funder of the Trust.

 Honeywell presented evidence to support those claims and seeks guidance from the Court to clarify

 the limits of the Trustees’ discretion and ensure that claims are supported by competent and

 credible evidence as required by the TDP. First, Honeywell demonstrated, and the Trust agrees,

 that formulaic allegations of exposure submitted by law firms on behalf of hundreds of disparate

 claimants pose reliability concerns. Yet the Trust has paid more than $128 million in reliance on

 copy-and-paste exposure allegations. And while the Trust hired Mazars to audit these practices,

 Mazars passed 99% of the audited claims, relying on the say-so of those same claimant firms

 (including, most notably, the Nicholl firm). This was not an effective audit and did not resolve the

 concerns raised by formulaic exposure allegations across the affidavits. Second, the Trust has

 effectively reintroduced the refractory inference, paying thousands of claims based on allegations

 that the claimant was exposed to products “of the same type” as NARCO products. The text of

 the TDP requires competent and credible evidence of exposure to a specific NARCO asbestos-

 containing product. Third, the Trust’s Individual Review (“IR”) Model fails to account for

 language in the TDP requiring “extenuating circumstances” and improperly rewards the vast

 majority of claimants simply for choosing the IR process. And fourth, the Trust spends excessively

 and fails to provide Honeywell with sufficient detail to explain its inflated budget.

        The facts set forth at trial warrant the Court’s intervention and guidance to ensure that the

 Trust’s policies align with the TDP, particularly those that pertain to formulaic exposure

 allegations. Honeywell therefore respectfully requests that the Court enter the attached Proposed

 Order, granting Honeywell the relief described therein.



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                                          ARGUMENT

I.      The Trust’s Policies Regarding Form Affidavits Should Be Amended To Conform To
        The TDP And The Court’s Guidance.

        A.      The Parties Agree That Formulaic Exposure Allegations Raise Competence
                And Credibility Concerns.

        To establish a valid claim under the NARCO TDP, claimants must satisfy two evidentiary

 prongs: (1) the presence of a specific NARCO asbestos-containing product at the claimant’s

 worksite, and (2) the claimant’s occupational exposure to that NARCO product on a regular basis.

 Tr. (5/25 PM) 97:20–98:1 (Gleason); Tr. (5/23 AM) 91:1–92:9 (Zimmerman). These are separate

 requirements, and each must be established by “competent and credible evidence.” Tr. (5/25 AM)

 101:8–17 (Gleason); see Ex. 384 at Trust-Trial-11008.

         Shortly after the Trust began processing claims in 2014, claimant firms started submitting

 “form affidavits” as evidence of occupational exposure. Ex. Z at HON Tr. 01149. A form affidavit

 is “an affidavit that contains exposure allegations that use identical descriptive language as the

 language contained in other exposure affidavits submitted to the Trust.” Ex. AA at HON Tr. 01166

 n.5. As the Court observed, form affidavits may have some variation across certain allegations.

 Tr. (5/24 AM) 80:7–24 (Bekker). However, the critical exposure language that serves as proof of

 the required occupational exposure element is simply copied by the claimant’s lawyer from another

 affidavit without modification. See Tr. (5/25 AM) 112:16–24 (Gleason); Tr. (5/26 PM) 29:4–9

 (Kawaichi); Tr. (5/24 AM) 68:23–25, 75:11–20 (Bekker). The Trust agrees that copying exposure

 allegations makes an affidavit a form, and its claims processor CRMC identifies and tracks form

 affidavits on this basis. Tr. (5/26 AM) 146:13–25 (Wetherald).

        Honeywell provided the Court with several examples of form affidavits at trial, including

 a summary chart compiled by Honeywell’s expert, Louis Dudney, that compares formulaic

 exposure and worksite language submitted by multiple claimants. See Appendix A, infra; see also

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 Courtroom Ex. 19. As demonstrated by the chart, fifteen different claimants submitted affidavits

 that contained identical, or nearly identical, language describing their worksites. And eleven out

 of those same fifteen claimants submitted nearly identical exposure language. Id.

        While the occupation, dates of exposure, and worksite can vary by claimant, it is those

 variations that underscore the problem: it is implausible that different claimants in different

 occupations at different sites at different times had both an identical exposure experience and an

 identical recollection of that experience. See Ex. Z at HON Tr. 01149. The Trust shares these

 concerns. As it once explained to the mediator, “the Trustees were unable to conclude that a pipe

 insulator at Champion Paper Company in Sheldon, Texas, a steamfitter at Targa Midstream

 Services in Mont Belvieu, Texas, and a boilermaker at Hershey Chocolate Corporation in Hershey

 Pennsylvania all had . . . identical exposure to NARCO products.” Id. at HON Tr. 01149–50 n.8.

        Honeywell and the Trust have long agreed that form affidavits raise concerns about the

 “accuracy and the credibility” of the recycled exposure allegations contained therein. Tr. (5/25

 AM) 112:9–15 (Gleason). The Trust had this concern with form affidavits in 2015 when it

 represented to the Court that it would stop accepting them. Id. at 112:9–24 (Gleason). It had this

 concern in 2016 when it issued directives prohibiting CRMC from relying on them. Ex. X at HON

 Tr. 01111. And it has the same concern today. See Tr. (5/23 AM) 26:15–23 (Trust Opening

 Statement). Indeed, according to the Trust, its concern with form affidavits has “existed every day

 as the settlement trust matured” since the 2015 litigation. Id.

        The problem with form affidavits, as the Trust has articulated, is that “claimants blindly

 will sign affidavits without personalization.” Ex. V at HON Tr. 01066; Tr. (5/26 PM) 76:18–22

 (Schiro). In fact, the Trust argued to the mediator during the Standstill Period that form affidavits

 are “functionally the same” as check-the-box affidavits, which allow a claimant to put a checkmark



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 next to a pre-printed allegation and which all parties agree are insufficient to demonstrate exposure

 to a NARCO asbestos-containing product under the TDP. See Ex. 384 at Trust-Trial-11027. To

 this day, the Trust prohibits CRMC from relying on check-the-box affidavits as NARCO exposure

 evidence because check-the-box affidavits “prevent the claimant from using his own language to

 describe exposure.” Ex. V at HON Tr. 01066. Form affidavits are marginally different from

 check-the-box affidavits only because there may be immaterial variations across the same forms.

 See Tr. (5/23 PM 1) 150:9–22 (Calandra). But the reliability problem with form affidavits is the

 same: they rely on pre-printed exposure allegations that the claimant cannot personalize as proof

 of a requisite element of the claim.

        After 2015, the Trust developed two policies that were responsive to these shared concerns.

 First, it implemented Directive 7(a), instructing CRMC to “disregard those portions of the

 affidavits that were copied across dozens of unrelated claims.” Ex. Z at HON Tr. 01150. Second,

 it instructed CRMC to track the various types of forms that were being submitted. Tr. (5/26 PM)

 73:21–74:2 (Schiro). The Trust later added a computer program to assist CRMC’s human

 reviewers in recognizing forms and assigning each type of form a “form identifier.” Tr. (5/26 AM)

 146:13–25 (Wetherald). As Mr. Gleason testified, that tracking system was developed because

 the Trust had “concern” and wanted to conduct “an initial screening” to identify the formulaic

 exposure language in form affidavits. Tr. (5/25 PM) 92:23–93:8 (Gleason).

        Despite these concerns, in February 2018, the Trust reversed course on its form policy by

 making two revisions to its directives: it eliminated Directive 7(a), which previously prohibited

 CRMC’s reliance on form affidavits, and it added Directive 16, which mandates that CRMC

 consider form affidavits in three specific circumstances. Ex. 260 at Trust-Trial-06151. As a result

 of these changes, the Trust went on to pay more than $128 million in reliance on formulaic



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 exposure allegations. See Ex. BP at HON Tr. 02204. This increased reliance on form affidavits

 left Honeywell no choice but to seek the Court’s guidance on whether form affidavits are, in fact,

 competent and credible evidence under the TDP.

        B. The Trust’s Policy Change Does Not Address The Concerns Raised By Form
           Affidavits.

        There is an inherent implausibility in hundreds of differently situated claimants alleging

 identical recollections of exposure to NARCO products, and the Trust has consistently expressed

 “concern” about this type of exposure evidence. See Tr. (5/23 AM) 26:15–23 (Trust Opening

 Statement). Honeywell has sought the Court’s guidance through this litigation because the Trust’s

 Directive 16 “fix” for deficiencies does not address the underlying competence and credibility

 problems that motivated the ban on formulaic exposure evidence in the first place.

        Directive 16(b)(i) requires consideration of a form affidavit submitted by a claimant who

 was on an Approved Worksite during the stipulated time frame. Ex. 260 at Trust-Trial-06151.

 But the gating item of an Approved Worksite shows only that a NARCO product was present

 somewhere on the worksite, not that the claimant was actually exposed to it on a regular basis, as

 the TDP requires. Tr. (5/25 PM) 98:7–10, 99:2–9 (Gleason). Presence alone is not sufficient proof

 of exposure. Id. at 97:20–98:6 (Gleason). This bootstrapping of the exposure prong through the

 presence prong is not permitted by the TDP.

        Directive 16(b)(ii) applies to claimants on Approved Worksites after the stipulated

 timeframe. Ex. 260 at Trust-Trial-06151. For these claimants, there is not even a presumption of

 NARCO presence. Tr. (5/25 PM) 99:25–100:5 (Gleason). Nevertheless, their form affidavits will

 be considered if they contain an eyewitness statement of the claimant’s exposure. Ex. 260 at Trust-

 Trial-06151. But as Mr. Gleason testified, the same eyewitness statement can be copied and pasted

 across 20, 30, or 40 different affidavits, and it will be credited under Directive 16(b)(ii). Tr. (5/25


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 PM) 100:6–13 (Gleason). These recycled eyewitness statements pose the same reliability concern

 as form affidavits more generally: they raise the “question [of] whether that purported eyewitness

 really was an eyewitness . . . or did they blindly sign.” Tr. (5/23 PM 1) 50:7–15 (Calandra).

        Finally, Directive 16(b)(iii) addresses non-Approved Worksites and Approved Worksites

 before the stipulated timeframe (Ex. 260 at Trust-Trial-06151)––that is, sites where there is no

 evidence that NARCO was present at the time the claimant was there. Tr. (5/23 PM 1) 51:10–22

 (Calandra). In that circumstance, the claimant need only include an eyewitness statement (even if

 it is copied verbatim from another affidavit) and show that he worked in an occupation where he

 had presumptive “significant occupational exposure” or “SOE.” Ex. 260 at Trust-Trial-06151.

 SOE means that the claimant had five years of exposure to asbestos generally—not to NARCO

 asbestos products specifically. Tr. (5/23 PM 1) 51:10–52:4 (Calandra). And there are twice as

 many SOE presumptive occupations as there are NARCO presumptive occupations, meaning that

 many claimants are benefitting from Directive 16(b)(iii) even though they worked in an occupation

 that has no presumptive exposure to NARCO. Id. at 51:10–52:19 (Calandra).

        While each of the three subparts of Directive 16(b) raises individual concerns, the

 fundamental problem with all of them is that they do not address the underlying reliability concern

 that formulaic exposure allegations are signed blindly by hundreds or even thousands of claimants.

 Tr. (5/26 PM) 32:7–11 (Kawaichi) & 76:18–22 (Schiro). Copy-and-paste exposure allegations (or

 eyewitness allegations) taken from someone else’s affidavit do not confirm that the affiant actually

 had the personal knowledge he or she is attesting to. The Trust acknowledges that the purpose

 behind Directive 16 was to reduce the number of deficiencies it was issuing. Tr. (5/26 PM) 81:20–

 24 (Schiro). Indeed, Directive 16 was intended to and does have a “maximum reach” to justify

 the Trust’s reliance on formulaic exposure allegations in the “vast majority” of circumstances. Tr.



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 (5/23 PM 1) 52:11–19, 66:16–21 (Calandra); see Ex. 260 at Trust-Trial-06151.

        Compounding this concern is the fact that the Trustees have not monitored the effects of

 Directive 16 on the volume of claims paid based on forms, even though CRMC has this data

 available.     Since the policy change, the Trustees have not received regular reporting on

 CRMC’s review of form affidavits. Tr. (5/25 PM) 104:19–105:3 (Gleason). As a result, they did

 not know which firms were the top filers of form affidavits (id. at 103:16–23 (Gleason); Tr. (5/26

 PM) 29:19–23 (Kawaichi); id. at 75:2–76:17 (Schiro)), which firms had received the most

 payments in reliance on form affidavits (id. at 76:3–6 (Schiro)), which form affidavit was most

 commonly used or which firm submitted it (id. at 75:24–76:2 (Schiro)), how many forms CRMC

 had identified (id. at 74:23–75:1 (Schiro)), or that some firms had been paid based on the same

 formulaic exposure allegations hundreds––even thousands––of times (id. at 30:20–24

 (Kawaichi)); see also Ex. BM at HON Tr. 02190. The Trust’s failure to monitor the prevalence

 of formulaic exposure language in affidavits, despite its admitted concerns, underscores the need

 for increased vigilance around exposure evidence.

        C. The Trust’s New Policy Has Resulted in the Overpayment of Claims Relying on
           Affidavits With Formulaic Exposure Language.

        The Trust’s new policy has led to the payment of a large number of claims that rely on

 affidavits using formulaic exposure language with no meaningful check on the reliability of those

 affidavits. Since CRMC began tracking form identifiers in 2017, the Trust has relied on affidavits

 with formulaic exposure language to pay over $128 million in claims. Ex. BP at HON Tr. 02204;

 Tr. (5/24 AM) 83:10–84:5 (Bekker) & 93:12–94:3 (Bekker); Ex. BM. See also 4/29/22 Stip. Facts

 ¶ 79 (Dkt. No. 347). To date, CRMC has identified over 300 different types of forms. Some of

 those individual forms have supported hundreds and even thousands of paid claims using virtually

 identical exposure allegations.   Ex. BM at HON Tr. 02190–95; Tr. (5/26 AM) 123:9–11


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 (Wetherald). The parties agree that the Trust has paid over 13,800 claims that include form

 identifiers. 4/29/22 Stip. Facts ¶ 79 (Dkt. No. 347).

        Form affidavits are concerning to the Trust and Honeywell for their marked similarities,

 despite some differences. See Ex. BR. As discussed above, while each form includes specific

 biographical details that correspond to the affiant—such as the claimant’s name, occupation, and

 location—in many cases, the differences stop there. See id. A closer look at a single form

 identifier, Form-269, is telling. Honeywell submitted five examples of Form-269 into evidence.

 Ex. BR at HON Tr. 02216–25. All five affiants worked at different locations and in different roles:

 a laborer at Pangborn in Maryland (Ex. BR at HON Tr. 02217), a Boiler Worker at U.S. Silica in

 Pennsylvania (id. at HON Tr. 02219), an Insulator at Lohmann Supply Company in Missouri (id.

 at HON Tr. 02221), a sheetmetal worker at General Dynamics in Texas (id. at HON Tr. 02223),

 and a Boiler Worker for the Department of Defense in South Carolina (id. at HON Tr. 02225).

 Despite these varied worksites and occupations, all five affiants had the exact same recollection

 of their NARCO exposure and their interaction with NARCO asbestos-containing products:

        “We knew this [Product Type] cement was [Product Name] because we called it
        that. We knew it contained asbestos because we referred to it as asbestos.”

        “In order to [Job Description], we had to cut off the asbestos-containing [Product
        Name]. To reapply it, we poured it in a bucket and mixed it with water. These
        processes made asbestos dust go airborne. When we swept up after this work,
        asbestos dust went airborne as well.”

 Ex. BR at HON Tr. 02216–25 ¶¶ 4, 6. All five of these claims were paid by the NARCO Trust,

 and in total, 126 claims relying on this same form identifier, Form-269, were paid—for a total of

 $1,428,000. Ex. BM at HON Tr. 02190. It strains credulity to think that such a diverse set of

 claimants––from different professions at disparate job sites around the country––had the same

 word-for-word experience with NARCO asbestos-containing products. As noted above, the Trust

 identified this same incredulity to the mediator, and the same concerns hold here.

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        D. Inconsistencies Between Tort System Statements and Form Affidavits
           Demonstrate the Reliability Problems with Form Affidavits.

        Beyond their facial implausibility, affidavits with formulaic exposure language present

 another reliability problem: in many instances, they contradict other sworn statements made by the

 same individuals, typically in depositions or interrogatory responses offered in the tort system

 against other defendants. Both the Trust and Honeywell have identified various discrepancies and

 inconsistencies between form affidavits, on the one hand, and statements made by that same

 individual in depositions and interrogatories, on the other hand.

        By way of example shown at trial (Tr. (5/24 AM) 96:18–100:8 (Bekker)), a 2014 NARCO

 Trust affidavit submitted by a claimant’s daughter (Ex. CO at HON Tr. 04641) is inconsistent with

 that affiant’s earlier deposition testimony (Ex. CP at HON Tr. 04642). In 2008, the affiant testified

 that her mother “never” told her that she worked with or around asbestos-containing products, she

 had “no personal knowledge as to any asbestos-containing products [her mother] may have worked

 with or around,” and admitted that she “wouldn’t be able to identify any manufacturers of asbestos

 containing products” and “wouldn’t happen to know the names of any suppliers of asbestos-

 containing products to Great Lakes Steel while [her] mother worked there.” Id. at HON Tr. 04665.

 Yet, six years later, the affiant submitted a detailed affidavit to the NARCO Trust stating that her

 mother “would have assisted bricklayers by dumping and mixing numerous bags of the castable

 and gunnite materials manufactured by NARCO” and “had to remove the castable and gunnite

 materials manufactured by NARCO after it had been used and required to be replaced.” Ex. CO

 at HON Tr. 04641. Both cannot be true. These discrepancies between form affidavits and the

 affiant’s personal knowledge raise serious questions about the reliability of the affidavits.

 Honeywell provided the Trust with 738 examples of form affidavits submitted to the Trust that

 were inconsistent with tort system statements, along with the underlying documentation, including


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   the claim IDs and the inconsistent litigation documents. Ex. AU at HON Tr. 01578–01581.

II.          The Trust’s Audit Program Has Failed To Reconcile Many Of The Issues That
             Honeywell And The Trust Itself Have Identified In Claims Filings.

             The Trust’s Claims Audit Program (“CAP”) has failed to achieve its goal of providing a

   meaningful check on form affidavits and other problematic exposure evidence. Under the CAP,

   the Trust engaged Mazars to conduct a series of random and targeted audits. See Ex. HQ (Nicholl

   Targeted Audit Report) at HON Tr. 08549; Tr. (5/23 PM 1) 107:11–14 (Calandra). For both types

   of audits, Mazars was charged with evaluating “all documentation” provided by the law firm to

   answer questions such as: “Is there documentation within the law firm’s file to support the

      reliability of the exposure and medical information submitted to the Trust?” See Ex. HG at HON

      Tr. 08370 (emphasis added); Tr. (5/24 PM 1) 126:11–127:4 (Dudney); Tr. (5/24 PM 2) 16:5–17:3

   (Dudney). But as set forth below and at trial, Mazars frequently “passed” audited claims without

   reviewing any additional documentation called for by the CAP, undermining Mazars’ conclusions

   and calling into question whether supporting documentation exists within the law firm’s files.

             The core problem with Mazars’ reports stems from Mazars’ acceptance of claims of

   privilege by claimant law firms and their decision to “pass” audited claims based on verbal and

   written representations by those claimant law firms, without reviewing documentation in the files.

   Honeywell’s expert, Louis Dudney, concluded these reports had serious reliability issues as a

   result. See Tr. (5/24 PM 1) 135:2–18; id. at 144:6–17. Mr. Dudney and his team reviewed 1,482

      random audit reports and determined that Mazars “passed” more than 99% of those claims, with

      only 13 out of the 1,482 audited claims “fail[ing]” the audit and over half of them relying

   exclusively on testimonial evidence to pass. Tr. (5/24 PM 1) 122:17–123:21 (Dudney); Ex. EW

  at HON Tr. 06838–06873. As Mr. Dudney explained, the lack of independently verifiable

  information means there was “no way for Mazars to really test” the claims submitted to the Trust.


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 Tr. (5/24 PM 1) 135:2–18 (Dudney).

        The Peter T. Nicholl Firm Targeted Audit Report suffered from similar deficiencies, and

 Mr. Dudney concluded that it, too, had serious limitations. Id. at 148:5–18 (Dudney). In the

 Nicholl Audit, Mazars assessed issues identified by the Trust and Honeywell including form

 language across multiple affidavits and inconsistencies between the affidavits and litigation

 documents. The Nicholl Audit was important because the Nicholl Firm is by far the most prolific

 filer of affidavits using formulaic exposure language. The Nicholl Firm has been paid in excess

 of $75 million in reliance on such affidavits since CRMC began using form identifiers in 2017.

 Tr. (5/25 PM) 104:7–9 (Gleason); Ex. BP at HON Tr. 02204; Tr. (5/24 AM) 93:18–94:7 (Bekker).

        Throughout the course of the audit, Mazars was “stymied in [its] efforts to obtain additional

 documentation” that would verify the affidavits submitted by the Nicholl Firm, and the Nicholl

 Firm similarly refused Mazars’ requests for on-site visits. Tr. (5/24 PM 1) 162:13–163:13

 (Dudney). The CAP requires that the auditor collect “non-privileged documentation” from these

 law firms as part of the audit, but the Nicholl Firm claimed privilege over certain documentation

 and factual information that it purportedly keeps in its files that could provide additional support

 for its clients’ claims. Ex. HQ at HON Tr. 08553. Some of the claimant information, such as facts

 about work history and other biographical information, is plainly not privileged, but the Nicholl

 Firm refused to provide it anyway. Tellingly, in other situations, the Nicholl Firm freely disclosed

 attorney-client communications. See Ex. HQ at HON Tr. 08561 (Nicholl explaining that claimants

 are “advised to avoid naming all product exposures during depositions” and are “instructed to

 answer only in respect to the product manufacturer the questioning attorney is representing”).

 Mazars accepted these broad privilege assertions by the Nicholl Firm, even after Nicholl informed

 them (and the Trust) that “‘[p]ersonal knowledge’ as referenced in affidavits can include attorney



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 discussions regarding product placement and job roles.” See Ex. HQ at HON Tr. 08553 (“Privilege

 was determined by the Nicholl Firm.”); Ex. GA at HON Tr. 07743 (draft Nicholl representation

 letter sent to Mazars and Trustees).

         Ultimately, Mazars relied on written and oral representations by the Nicholl Firm to issue

 a clean CAP assessment. See Ex. HQ at HON Tr. 08577; Tr. (5/24 PM 1) 164:24–165:7 (Dudney).

 The assessment provides little comfort, however, as even Mazars recognized significant limitations

 to its work, stating: “Mazars are not able to verify the representations made by the Nicholl Firm,

 first hand.” Ex. HQ at HON Tr. 08554. While Mazars sought to verify the reliability of these

 claims, it ultimately relied on “representations by a party in interest to the outcome of the claim,”

 and Mr. Dudney himself acknowledged that he “would have pushed harder.” Tr. (5/24 PM 2)

 15:19–16:4 (Dudney); id. at 58:1–16 (Dudney). The CAP should provide a real check on the

 claims and the evidence submitted to the Trust, but it has not achieved that stated goal.

     III.       The Trust Has Effectively Reintroduced the Refractory Inference.

         The evidence also showed that the Trust is approving a large number of claims where the

 claimant fails to identify a NARCO asbestos-containing product, as required by the TDP. The

 Trust now asserts that it reviews such claims on a case-by-case basis for other indications that the

 claimant was exposed to a NARCO asbestos-containing product, but it remains unclear following

 trial what information the Trust relies on in those instances.

         In 2015, the Trust’s claims processor relied on an “exposure decision tree” to process

 claims. Ex. BD at HON Tr. 02115; see also Tr. (5/23 PM 1) 111:21–112:5 (Calandra). That

 decision tree allowed for what the parties call a “refractory inference”: if a claimant was on an

 “Approved Worksite” (but not also in a presumptive NARCO occupation or industry), the claimant

 was not required “to identify a specific NARCO product.” Ex. BD at HON Tr. 02116. Instead,

 the claimant needed only to “provide a generic product name that fits the description of a NARCO

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 asbestos-containing product (e.g. - brick, trowel, finishing cement)” to establish exposure. Id.

 Such an inference is not permitted under the TDP because, among other provisions, Section 4.7(b)

 requires a claimant to “submit requisite evidence of exposure to a specific asbestos-containing

 product manufactured, sold or distributed by NARCO or its predecessors . . . .” Ex. B at HON Tr.

 00088 (emphasis added); see also Tr. (5/23 AM) 109:2–11 (Zimmerman) (“The TDP requires the

 identification of a specific NARCO asbestos-containing product . . . .”).

        In light of the TDP’s requirements, the Trust agreed in 2016 to stop employing an inference

 when a claimant on an Approved Worksite fails to allege exposure to a NARCO asbestos-

 containing product. Ex. 112 at Trust-Trial-02838. And it implemented worksheets for CRMC to

 use that were consistent with that commitment. Ex. AZ at HON Tr. 02028-29. Those worksheets

 did not permit claimants to establish exposure by stating they worked with refractory products of

 the same type that NARCO made, as the 2014 decision tree had allowed. Id.

        In January 2019, however, the Trust changed course. It amended its worksheets to again

 permit a refractory inference with the same effect as the inference previously contained in the 2014

 decision tree. See Ex. BA at HON Tr. 02032. Those changes, which are still in effect today, allow

 claims reviewers to consider allegations of exposure “to one or more asbestos-containing products

 of the same types as NARCO asbestos-containing products” when a claimant on an Approved

 Worksite fails to identify a NARCO product by name or even a NARCO product generally. Id. at

 HON Tr. 02099 (emphasis added); see Ex. 305 at Trust-Trial-07313-14 (current worksheets using

 same language). The worksheets go on to ask “[i]f after review of all the exposure evidence

 submitted in support of the claim,” the reviewer “consider[s] it likely that the claimant was exposed

 to a NARCO asbestos containing product.” Ex. BA at HON Tr. 02099 (emphasis added). At the

 time of the change in 2019, Honeywell was hopeful the additional follow-on question would ensure



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 that the Trust, as it promised in 2016, would meaningfully evaluate claims on a case-by-case basis.

 See Tr. (5/23 PM 1) 120:3–18, 121:14–122:4 (Calandra); Ex. BB at HON Tr. 02105.

        That is not what happened. After changing its worksheets, the Trust began paying claims

 even without reference to a NARCO asbestos-containing product anywhere in the claimant’s file.

 See, e.g., Ex. BU at HON Tr. 02534-02608; see also Tr. (5/24 AM) 103:4–23, 105:1–22 (Bekker).

 In those situations, the Trust’s claims processor codes the claim file as “no product identified,”

 meaning it does not reference a NARCO product. Tr. (5/24 AM) 106:5–20 (Bekker). Honeywell

 has reviewed over 1,000 claims coded as such, all of which have been paid by the Trust. Id. at

 106:21–107:7 (Bekker). The volume of claims paid where the claim file contains no reference to

 a NARCO product confirms what the Trust is doing: inferring exposure to a NARCO asbestos-

 containing product when a claimant identifies only generic refractory products that are similar in

 kind to NARCO products. That practice is inconsistent with the TDP, and the Trust should explain

 what additional information in those files is sufficient to establish that the claims are valid.

     IV.          The IR Model Violates the TDP.

           The Trust has also violated the TDP by utilizing an IR Model that fails to consider whether

 and to what extent an IR claimant “has extenuating circumstances” in determining payment values.

 Ex. B at HON Tr. 00074 (TDP § 4.3(b)(1)). As a result, even claimants with typical circumstances

 generally receive much more than Scheduled Value, and the Trust’s IR Model thus rewards the

 vast majority of claimants simply for choosing IR. See Tr. (5/24 PM 1) 47:7–15 (Choi). That

 approach contradicts the TDP’s express language and is at odds with its negotiating history.

           The key problem with the IR Model is that it ignores the “extenuating circumstances”

 requirement set forth in Section 4.3(b)(1) of the TDP, which states that the IR process “provides a

 claimant with an opportunity for individual consideration and evaluation of a NARCO Asbestos

 Trust Claim … where the claimant has extenuating circumstances that he or she believes warrant

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 a liquidated value above the applicable Scheduled Value.” Ex. B at at HON Tr. 00074 (emphasis

 added). Under Section 4.3(b)(1), then, a claimant must actually and objectively have some

 “extenuating circumstances” that justify a payment above Scheduled Value. The provision does

 go on to allow a claimant to pursue a claim through the IR process where they “believe” their

 circumstances warrant a higher payment, but that belief alone is not sufficient to secure an

 increased payment under IR. A payment above Scheduled Value is available only “where the

 claimant has extenuating circumstances.” But, as Dr. Choi testified, under the current IR Model

 “a claimant is rewarded simply for choosing IR as opposed to having distinctive characteristics,”

 Tr. (5/24 PM 1) 57:4–6 (Choi). By rewarding typical claimants that have typical circumstances

 with payments far above Scheduled Value, the IR Model violates the TDP’s express terms.

         The TDP’s negotiation history reinforces that conclusion. Under Delaware law, “the

 seminal rule of construction in trust cases [is] that the settlor’s intent controls the interpretation of

 the instrument.” Annan v. Wilmington Tr. Co., 559 A.2d 1289, 1292 (Del. 1989).                     Here,

 Honeywell’s chief negotiator of the TDP, Craig Zimmerman, testified that “[i]ndividual review

 was intended to be for those claimants who had some -- form of extenuating circumstance,” and

 that the TDP requires “the trustees[’] evaluation of those factors [set forth in Section 4.3(b)(2)] to

 determine whether extenuating circumstances were there.”               Tr. (5/23 AM) 109:22–110:6

 (Zimmerman). As Mr. Zimmerman testified, “Individual Review was intended to include only

 those folks . . . who actually had extenuating circumstances.” Id. at 115:4–6 (Zimmerman).

 Moreover, contemporaneous documents confirm Honeywell communicated its understanding of

 IR to the Trust stakeholders. In January 2005, Mr. Zimmerman explained to the ACC and FCR

 that IR was intended for “those claims in which extenuating circumstances warranted a liquidated

 value in excess of Scheduled Values.” Ex. 49 at Trust-Trial-01076. The Trust, TAC, and FCR



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 offered no testimony in response from anyone else who played a part in the TDP’s formation.

        Yet, the IR Model was not designed to distinguish claimants with extenuating

 circumstances from typical claimants. See Tr. (5/26 AM) 80:12–21 (Wyner). The historical data

 bears that out. Tr. (5/24 PM 1) 56:20–22 (Choi). Instead, as Dr. Choi testified, “if you’re an

 average claimant, if you’re a claimant that has average characteristics based on historical data or

 based on ER comparisons, you’re primarily going to stay in that vicinity of the starting value”—

 which, for mesothelioma claims, means receiving about $220,000, almost triple the Scheduled

 Value. See Tr. (5/24 PM 1) 40:17–20 (Choi). Thus “a claimant is rewarded simply for choosing

 IR as opposed to having distinctive characteristics.” Id. at 57:4–6 (Choi). In short, the IR Model

 fails to consider whether a claimant has extenuating circumstances before assigning claim values

 that are usually multiples of the Scheduled Value.

        The Trust appears to assert that whether “extenuating circumstances” exist is a matter

 claimants decide for themselves before choosing IR. See Tr. (5/26 AM) 79:4–15 (Wyner). But

 that effectively negates the phrase “has extenuating circumstances” and replaces it with a

 subjective requirement that a claimant need only believe, however unreasonably, that he or she has

 circumstances that warrant a payment above Scheduled Value. Delaware law does not permit

 negotiated language to be set aside in that way. See Osborn ex rel. Osborn v. Kemp, 991 A.2d

 1153, 1159 (Del. 2010) (“We will read a contract as a whole and we will give each provision and

 term effect, so as not to render any part of the contract mere surplusage.”). Understanding Section

 4.3(b)(1) to instead refer to a claimant’s objective circumstances gives effect to the “extenuating

 circumstances” language and avoids the surplusage problem presented by the Trust’s approach.

        Nor does any other part of the TDP allow the Trust to disregard whether IR claimants have

 extenuating circumstances. The Trust appears to view Footnote 8 as a requirement to hit certain



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 yearly average values for IR claimants, currently about $220,000 for Level 7 (Mesothelioma)

 claims. See Tr. (5/26 AM) 75:6–7 (Wyner); Tr. (5/25 PM) 66:14–23 (Gleason). But Footnote 8

 does not operate that way. Instead, it expressly excludes claims “at or below the Scheduled Value”

 from the calculations of annual averages. Ex. B at HON Tr. 00079. In doing so, Footnote 8

 indicates that the Trustees’ duty to “use their best efforts” to ensure that annual claims values

 average out to certain amounts applies only to those claimants who have extenuating

 circumstances. See id. This conforms to the rest of the TDP and the evidence establishing that

 IR’s higher payouts were intended for claimants “who actually had extenuating circumstances.”

 See Tr. (5/23 AM) 115:5–6 (Zimmerman). Accordingly, the Court should order the Trust to

 implement an IR model that comports with the TDP and takes into account whether a claimant has

 extenuating circumstances that justify a payment above Scheduled Value.

      V.    The Trust Should Budget and Spend More Responsibly.

        For years, the Trust has failed to provide Honeywell with an operating budget that “set[s]

 forth in reasonable detail the proposed Trust Expenses.” Ex. 2, Trust Agreement § 3.4, at Trust-

 Trial-00145 (emphasis added). Instead, the Trust provides Honeywell with a two-page summary

 of projected costs by vendor to support its budgets that often exceed $20 million. Exs. JS, DP,

 DQ. Honeywell has many times requested additional support for the Trust’s budgets. Tr. (5/24

 AM) 16:8–10; 17:2–9 (Kelly). 2018 was the first and only time the Trust provided that detail. Tr.

 (5/24 AM) 20:25–21:4; 22:13–16; 23:22–24:4 (Kelly). In response to a request from Bob Kelly,

 Honeywell’s assistant corporate controller, the Trust provided backup it receives from its

 vendors—including projected tasks, hours, and rates—as well as the Trustees’ estimates of their

 hours. Ex. 197; Tr. (5/24 AM) 16:8–21:4 (Kelly). That level of detail is necessary, particularly

 because the annual budgets include $500,000 or more for each trustee’s fees and expenses. See,

 e.g., Ex. JS at HON Tr. 10228; Ex. DP at HON Tr. 06018; Ex. DQ at HON Tr. 06021. While the

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 Trust claims that it would have provided this information if Honeywell had asked for it, Mr. Kelly

 recalls that Honeywell did ask, and the Trust did not always provide the requested data. Tr. (5/25

 PM) 84:2–85:13 (Gleason); Tr. (5/24 AM) 17:2–9 (Kelly). Honeywell nonetheless appreciates the

 offer implicit in Mr. Gleason’s testimony to provide this level of detail going forward. That

 commitment, if honored, resolves the dispute with respect to delivering budget information.

        Beyond providing more detailed budgets, however, the Trust must also reduce its actual

 operating expenses. The Trust has spent, on average, over $15 million a year on expenses.

 Courtroom Ex. 15 (HON Tr. 10343). The Trust points to Honeywell’s involvement with the Trust

 and the parties’ disputes to justify its expenses. But after removing all legal expenses—not just

 litigation expenses—the Trust still spends an average of almost $7.5 million per year. Courtroom

 Ex. 16 (HON Tr. 10344). And although the Trust attributes its high spending to Honeywell, as

 discussed above, the Trustees have not been fully engaged in monitoring the concerns that

 Honeywell has raised with respect to the Trust’s operations. See supra I.C. In all events, with

 years of experience paying claims, the Trust can and should run at greatly reduced cost.

     VI.    The Trust’s Counterclaims Should Be Denied.

        Although the Trust makes various allegations against Honeywell in its four counterclaims,

 its affirmative case boils down to two primary assertions. First, the Trust contends that by

 considering filing suit against the Trust at various times in the past and by bringing the instant

 lawsuit, Honeywell is violating its obligations under Section 524(g) of the Bankruptcy Code and

 the Trust’s governing documents. Second, the Trust insists that Honeywell’s previous settlement

 of claims outside the Trust process was improper and likewise violates Section 524(g). The

 evidence presented at trial cannot sustain either claim. 1


 1
  In addition to a lack of sufficient evidence, the Trust’s counterclaims suffer from the same legal
 deficiencies identified in Honeywell’s pre-trial brief. Dkt. No. 335 at 18–20; see also Adv. No.
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        With respect to Honeywell’s contemplated litigation, it is true that at various points since

 the Trust’s creation, Honeywell and the Trust have disputed what constitutes a valid claim that

 should be paid under the TDP. And it is also true that Honeywell—consistent with its broad audit

 rights—has raised various issues with the Trust about how the Trust processes claims. As the

 Trust acknowledges, there was nothing improper about Honeywell exercising those audit rights.

 Tr. (5/25 PM) 126:8–23 (Gleason); Tr. (5/26 PM) 93:2–9 (Schiro). When those issues could not

 be resolved between the parties, Honeywell has at times informed the Trust of its intention to

 initiate litigation. But each time, the parties agreed to pursue other options short of court

 intervention, including mediation and a buyout. 2       Those options were not successful, and

 Honeywell brought this suit to ensure the Trust is processing claims in accordance with the TDP.

         The Trust failed to put forward any evidence that Honeywell’s exercise of its audit rights

 has interfered with the operation of the Trust. Without context, the Trust presented a few excerpts

 from a 2018 letter from Honeywell to the Securities & Exchange Commission about Honeywell’s

 2017 10-K. That letter nowhere states that Honeywell had suppressed the filing of valid claims,


 21-2096, Dkt. No. 111 at 4–18 (Honeywell’s Motion to Dismiss). To the extent the Trust contends
 that Honeywell is violating Section 524(g), those claims fail because the Trust does not have a
 private right of action to pursue a Section 524(g) claim in this adversary proceeding. In re Joubert,
 411 F.3d 452, 456 (3rd Cir. 2005); Walls v. Wells Fargo Bank, N.A., 276 F.3d 502, 510 (9th Cir.
 2002) (“[W]e cannot say that Congress intended to create a private right of action under § 524,
 and we shall not imply one.”); Pertuso v. Ford Motor Credit Co., 233 F.3d 417, 423 (6th Cir.
 2000). To the extent that the Trust seeks a permanent injunction based on the attempted buyout
 or Honeywell’s previous settlement with one claimant law firm, it fails to show what harm it
 currently faces based on Honeywell’s purported misconduct. See, e.g., In re North Am.
 Refractories Co., 542 B.R. 350, 363 (Bankr. W.D. Pa. 2015) (recognizing that courts should
 consider “current circumstances” and whether they “make the injunction unnecessary or
 inappropriate”).
 2
   Each of the Trust’s counterclaims refer to Honeywell’s prior attempt to negotiate a buyout.
 Although the Trust objects to the process by which Honeywell pursued that buyout, all three
 Trustees have since expressed openness to the concept of a buyout as a means to resolve the
 parties’ disputes. Tr. (5/25 PM) 126:1–7 (Gleason); Tr. (5/26 PM) 53:2–4 (Kawaichi); Tr. (5/26
 PM) 92:12–15 (Schiro).

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 as the Trust suggests. Rather, the letter noted that Honeywell had heard, anecdotally, that the

 parties’ disputes and Honeywell’s vigilance had led some firms to adopt what amounts to a wait-

 and-see approach. From 2015 to 2018, the Trust frequently changed its policies, so it stands to

 reason that that firms might have, for a time, held off on filing claims in order to gain clarity as the

 Trust and its policies adjusted. The Trust offers no evidence that this wait-and-see approach has

 continued and, as both the Trust’s and Honeywell’s valuation experts testified, claims against the

 Trust have trended higher in recent years. Tr. (5/26 AM) 21:23–22:15 (Finch); Tr. (5/26 PM)

 10:16–12:1 (Horewitz). Mr. Gleason also confirmed that the Trust is promptly and efficiently

 paying 100% of the claims it deems valid. Tr. (5/25 PM) 126:24–127:11 (Gleason).

        With respect to Honeywell’s attempts to settle with claimant law firms outside of the Trust

 process, the Trust’s claims fail on multiple fronts. First, Honeywell only settled with one claimant

 law firm, the Goldberg firm, in 2018—four years ago. Tr. (5/23 PM 1) 125:16–17 (Calandra).

 Since late 2018, Honeywell has not settled with any other claimant law firms, nor has it attempted

 to do so. Id. at 126:7–10 (Calandra). Second, Honeywell informed the Trust of the negotiations

 with the Goldberg firm in early 2018, and it provided the Trust with a copy of the executed

 agreement later that year. Id. at 125:11–126:2 (Calandra). The Trust made no objection at the

 time, nor does it now ask the Court to unwind that settlement. Id. at 126:3–6 (Calandra); see Dkt.

 No. 171 at 75–77. There is good reason for that: the claimants covered by the Goldberg settlement

 were represented by sophisticated counsel and chose to settle their claims according to that

 agreement’s terms. The Trust has no basis for its claims against Honeywell.

                                           CONCLUSION

        For all of the foregoing reasons, the Court should enter judgment in favor of Honeywell on

 its pending claims and enter the Proposed Order attached hereto.



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 Dated: June 14, 2022


 KIRKLAND & ELLIS LLP                           MCDERMOTT WILL & EMERY LLP

 Craig S. Primis, P.C.                          Michael R. Huttenlocher
 (admitted pro hac vice)
                                                One Vanderbilt Avenue
 Ronald K. Anguas, Jr.                          New York, New York 10017-3852
 (admitted pro hac vice)                        Telephone: (212) 547-5400
                                                Facsimile: (212) 547-5444
 1301 Pennsylvania Avenue, N.W.
 Washington, D.C. 20004                         QUINN, BUSECK, LEEMHUIS, TOOHEY & KROTO, INC.
 Telephone: (202) 389-5000
 Facsimile: (202) 389-5200                      /s/ Michael P. Kruszewski
                                                Michael P. Kruszewski
 Nicole L. Greenblatt, P.C.                     (Pennsylvania Supreme Court ID #91239)
 (admitted pro hac vice)
                                                Arthur D. Martinucci
 601 Lexington Avenue                           (Pennsylvania Supreme Court ID #63699)
 New York, NY 10022
 Telephone: (212) 446-4800                      2222 W. Grandview Blvd.
                                                Erie, Pennsylvania 16506
                                                Telephone: (814) 833-2222
                                                Facsimile: (814) 833-6753
                                                amartinucci@quinnfirm.com
                                                mkruszewski@quinnfirm.com

 Counsel for Honeywell International Inc.
